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AO 187 (Rev. Locally 03/18) Exhibit List



                                       UNITED STATES DISTRICT COURT
                                                 State and    DISTRICT OF             MINNESOTA


                                                                                      FIRST AMENDED EXHIBIT LIST -
         UNITED STATES OF AMERICA                                                     KUENG
                    V.
       DEREK MICHAEL CHAUVIN, ET AL.                                                     Case Number: 21-108 (PAM/TNL)

PRESIDING JUDGE                                       PLAINTIFF’S ATTORNEY                       DEFENDANT’S ATTORNEY
                                                                                                               Robert Paule
                                                               Samantha Trepel
                                                                                                             Natalie R. Paule
                                                               LeeAnn K. Bell
    The Honorable Paul A. Magnuson                                                                          Thomas C. Plunkett
                                                                Manda Sertich
                                                                                                                Earl Gray
                                                               Allen Slaughter
                                                                                                           Amanda Montgomery
TRIAL DATE (S)                                        COURT REPORTER                             COURTROOM DEPUTY
               January 20, 2022                                   Renee Rogge                                   Lynn Magee
PLF.    DEF.      DATE
                               MARKED      ADMITTED                            DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.     NO.      OFFERED

        K-A                                           A.     MPD 2019 Recruit Manual - Complete

        K-B                                           B.     May 1, 2019 FTO Handbook

        K-C                                           C.     FTO Task Check List – Kueng

        K-D                                           D.     Ropes – Kueng

        K-E                                           E.     Eck Letter - Extension

        K-F                                           F.     FTO – Survey Monkey

        K-G                                           G.     FTO – Standardization Manual

        K-H                                           H.     Excited Delirium Power Point

         K-I                                          I.     MPD Policy – Use of Force 5-300 6-5-2020

         K-J                                          J.     FTO Handbook – February 1, 2020

        K-K                                           K.     MPD FTO Leadership Course

        K-L                                           L.     Example Use of Force Report – Redacted.

        K-M                                           M.     Steve Ijames CV

        K-N                                           N.     Photo - Matt and Alex

        K-O                                           O.     Photo - Kueng Family 1

        K-P                                           P.     Photo - Kueng Family 2

        K-Q                                           Q.     Photo - Alex in the field

        K-R                                           R.     Photo - Alex and Rin

        K-S                                           S.     Mission 1

        K-T                                           T.     Mission 2
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           K-U                                                           U.         Mission 3
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                       Page 2 of   2   Pages
